
In re Johnson, James; — Plaintiffs); applying for supervisory and/or remedial writs; Parish of Washington, 22nd Judicial District Court, Div. “B”, No. 323,256.
Writ granted in part, denied in part; case remanded. Relator moved the district court under LSA — C.Cr.P. art. 882 to correct an illegally lenient sentence and the district court denied the motion as untimely pursuant to LSA — C.Cr.P. art. 930.8(A). However, the timeliness provisions of C.Cr.P. art. 930.-8(A) apply to applications for post conviction relief made under La.C.Cr.P. arts. 924-930.8, and do not apply to motions to correct illegal sentences made under La.C.Cr.P. art. 882, which states that illegal sentences “may be corrected at any time.” Cf. State v. Johnson, 220 La. 64, 55 So.2d 782 (1951). The district court is therefore ordered to address the merits of relator’s claims in accordance with the procedures and guidelines set forth in State v. Desdunes, 579 So.2d 452 (La.1991); State v. Washington, 578 So.2d 1150 (La. 1991) and State ex rel. Jackson v. Smith, 578 So.2d 1150 (La.1991).
DENNIS, J., not on panel.
